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21st JUDICIAL DISTRICT COURT FOR THE PARISH OF TANGIPAHOA

STATE OF LOUISIANA

xo. Qbat - OCOD BAO DIVISION:

 

ERNEST YAMBOR AND LINDA YAMBOR
Versus

SUN REUNION LAKE RY LLC d/b/a REUNION LAKE RV RESORT

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PETITION FOR DAMAGES

NOW INTO COURT, through undersigned counsel, come Petitioners, ERNEST
YAMBOR and LINDA YAMBOR, persons of the full age of majority and domiciled in the State
of Ohio, who respectfully represent the following:

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Made defendant herein is:

A. SUN REUNION LAKE RV LLC (d/b/a REUNION LAKE RV
RESORT)(“REUNION LAKE”), a foreign limited company authorized to do and
doing business in the State of Louisiana.

I.

This Honorable Court has jurisdiction over this defendant as defendant is doing business in,
and purposefully availing itself of the laws of, the State of Louisiana. Venue is proper in this court
under La. C.C.P. art. 74, as the accident leading to this litigation occurred in Ponchatoula, LA.

UI.
Said defendant is indebted unto Petitioners for the following reasons to-wit:
IV.

On or about February 14, 2020, Petitioner, ERNEST YAMBOR, was a guest at
REUNION LAKE, located at 43234 LA-445, Ponchatoula, LA 70454, with his wife LINDA
YAMBOR.

V.

On the above-referenced date, Petitioner, ERNEST YAMBOR, used the bathroom and
Case 2:22-cv-00113-CJB-KWR Document 1-1 Filed 01/20/22 Page 2 of 8

shower facilities provided by REUNION LAKE.
VI.

Mr. Yambor, aged 72 at the time of loss, required the assistance of a walker on the date in
question.

Vil.

As Petitioner was in the shower stall, he slipped and fell due to the slippery condition of
the tile floor, causing injury.

VOL.

At all times material herein, defendant, REUNION LAKE, owned and/or operated the
shower facilities which Petitioner utilized. Further, it is alleged that REUNION LAKE exercised
care, custody and control of said shower facilities.

IX.

‘Defendant, REUNION LAKE, knew, or in the exercise of reasonable care should have
known, of the dangerous condition of the tile floors in the shower presented and did nothing to
‘remedy the hazard, even though it was foreseeable that an individual such as Petitioner could be
injured due the condition of the tile floors.

X.

The shower facilities designated for use by individuals such as Petitioner, ERNEST
. YAMBOR, lacked basic safety precautions that would have prevented him from slipping, such as
anti-slip strips on the floor or a handle or railing for disabled guests to hold themselves up. The |
lack of these measures is in violation of the Americans with Disabilities Act, which states in
pertinent part that places of public accommodations “shal! maintain in operable working condition
those features of facilities and equipment that are required to be readily accessible to and usable
by persons with disabilities.” 28 CFR § 36.211.
| x1.

Petitioners further aver that said incident and all injuries and damages sustained therefrom

" were caused solely and entirely by the negligence and/or fault of Defendant, REUNION LAKE,

in that Defendant:

a. Failed to Maintain the premises as required by the Americans with Disabilities Act
Case 2:22-cv-00113-CJB-KWR Document 1-1 Filed 01/20/22 Page 3 of 8

b. Failed to maintain equipment as required by the Americans with Disabilities Act;
c. Failed to warn guests of known dangerous / hazardous conditions, vices, and / or defects;
d. Placing guests in a perilous situation by failing to enact proper disability precautions;
e. Failure to correct a known hazardous condition, vice, or defect;
f. Failure to protect guests from a known dangerous situation;
g. Failure to keep the interior of the disability accommodations in a safe condition; and
h. Any and all other acts of negligence which will be learned through discovery.
XII.

As a result of the accident, Petitioner, ERNEST YAMBOR, sustained various injuries,
including, but not limited to a bruised, bleeding, and concussed head, bruising to his arms and
torso, and bruising to his tail bone. The injuries described herein required ERNEST YAMBOR
to seek medical treatment and incur medical costs.

XII.
Petitioner, ERNEST YAMBOR, also incurred certain losses and expenses including, but
not limited to, the requirement that the Plaintiff use a wheelchair as a result of his injuries.
XIV.
As a result of the accident, Petitioner, ERNEST YAMBOR, has sustained or will sustain the
following non-exclusive damages:
a. Past, present, and future physical pain and suffering;
b. Past, present, and future mental anguish;
c. Past, present, and future medical expenses; and
d. Any and all other claims of damages that are reasonable in the premises.
XV.

Furthermore, as a result of the accident, Petitioner, LINDA YAMBOR, sustained a loss of
consortium with her husband ERNEST YAMBOR, including, but not limited to a loss of
affection, society, and companionship, among other things.

XVI

Petitioner avers amicable demand to no avail.
Case 2:22-cv-00113-CJB-KWR Document 1-1 Filed 01/20/22 Page 4of8

WHEREFORE, Petitioners, ERNEST YAMBOR and LINDA YAMBOR, pray
Defendants, SUN REUNION LAKE RV LLC d/b/a REUNION LAKE RV RESORT, be duly
cited and served with a copy of this Petition for Damages, and after all legal delays and due
proceedings are had herein, there be judgment in favor of Petitioner, for all general and equitable
relief for an amount as is reasonable in the premises and against Defendant together with legal
interest from the date of judicial demand until paid, and for all costs of these proceedings.

Respectfully submitted,

 
 
  
 

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MIKE BRANDNER INJURY ATTOR
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MICHAEL

SCOT P. KOLOSKI (L&Bar 27537)
KEITH M. ACCARDO, JR. (La. Bar 39100)
JASMYN M. SOLDATOS (La. Bar 39508)
3621 Veterans Memorial Blvd.

Metairie, LA 70002

Telephone: (504) 345-1111

Facsimile: (504) 521-7550

Email: mbrandner@mikebrandner.com
Email: skoloski@mikebrandner.com
Email: kaccardo@mikebrandner.com

Email: jsoldatos@mikebrandner.com
PLEASE SERVE:

SUN REUNION LAKE RV LLC
Through their registered agent for service:
National Registered Agents, Inc.

3867 Plaza Tower Dr.

Baton Rouge, LA, 70816
Case 2:22-cv-00113-CJB-KWR Document 1-1 Filed 01/20/22 Page5of8

21st JUDICIAL DISTRICT COURT FOR THE PARISH OF TANGIPAHOA
STATE OF LOUISIANA
no. DOH-OO0H 39 O DIVISION:

ERNEST YAMBOR AND LINDA YAMBOR wr

 

versus

SUN REUNION LAKE RV LLC d/b/a REUNION LAKE RV RESORT

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REQUEST FOR NOTICE

NOW INTO COURT, through undersigned counsel, comes your Petitioners herein,

    
  

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DEPUYY CLERK

ERNEST YAMBOR and LINDA YAMBOR pursuant to La. C.C.P. Articles 1572, 1913, and
1914, who asks this Court for written notice ten (10) days in advance of the date fixed for the
hearing of any exception, motion, rule, or trial on the merits, in the captioned proceeding.
Furthermore, Petitioner requests immediate notice of all interlocutory and final orders on any
judgments, exceptions, motions, rules, and/or of the trial on the merits in the captioned.

Respectfully submitted

MIKE BRANDNER INJURY ATTORNEYS
MICHAEL S. RANDOM TR fg et 27973)
SCOT P. KOLOSKI (La. Bar 24537)

KEITH M. ACCARDO, JR. (La. Bar 39100)
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PLEASE SERVE:

SUN REUNION LAKE RV LLC
Through their registered agent for service:
National Registered Agents, Inc.

3867 Plaza Tower Dr.

Baton Rouge, LA, 70816
 

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ERNEST YAMBOR; ET AL Case: 2021-0000390

Division: D

21" Judicial District Court
- Parish of Tangipahoa

State of Louisiana

Versus

 

SUN REUNION LAKE RV LLC, ET AL

 

MD
To: SUN REUNION LAKE RV LLC

THRU THEIR REGISTERED AGENT FOR SER VICE:NATIONAL REGISTERED AGENTS INC.
3867 PLAZA TOWER DR

BATON ROUGE, LA 70816

Parish of EAST BATON ROUGE

YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition of which a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within fifteen (15)
days after the service hereof, under penalty of default. .

This service was ordered by attorney KEITH M. Bee and was issued by the Clerk of Court on February
9, 2021.

 

 

 

Pleading Served
PETITION FOR DAMAGES, REQUEST FOR NOTICE
YMarguteyd yGhom
Deputy Clerk of Court for
Gary T. Stanga, Clerk of Court
Service Information
Received on the day of _- 20: and on the day of

 

, 20 served the above named party as follows:

Personal Service on the party herein named

 

Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
hands of , a person apparently over the age of seventeen
years, living and residing in said domicile and whose name and other facts connected with this service, I
learned by interrogating the said person, said party herein being absent from his/her residence at the time of
said service.

 

DUE & DILIGENT UNABLE TO SERVE BECAUSE:

 

 

 

Returned: Sus 7

Parish of this day of , 20
Service $

Mileage $ aa Deputy Sheriff

Total $

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Versus me eras 21" Judicial District Court
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iv & os i Bie " zs 5 oe 4 - .

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